      Case 2:15-cr-00190-KJM Document 296 Filed 11/22/17 Page 1 of 7


1

2

3

4                           UNITED STATES DISTRICT COURT

5                          EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                    No. 2:15-cr-190-GEB
8                     Plaintiff,
9          v.                                     AMENDED VOIR DIRE
10   GEORGE LARSEN, et. al.,
11                    Defendants.
12

13               Good morning and welcome to the United States District

14   Court.     Thank you for both your presence and your anticipated

15   cooperation in the questioning process we are about to begin.

16   You are performing an important function in our legal system.

17               The court personnel who will assist me in this trial

18   are on the platform below me.               The Courtroom Deputy Clerk is

19   Shani Furstenau.       Next to her is the Certified Court Reporter.

20   Ms.   Furstenau,    please     administer    the   oath   to   the    prospective

21   jurors.

22               We are about to begin what is known as voir dire.                Voir

23   dire consists of questions designed to provide the court and the

24   parties    with    information    about     each   potential    juror.       After

25   questioning is complete, the parties will exercise what is known

26   as peremptory challenges.

27               1.     Parties,     the   Jury     Administrator         has   already

28   randomly selected potential jurors and their names are on the
                                            1
      Case 2:15-cr-00190-KJM Document 296 Filed 11/22/17 Page 2 of 7


1    sheet you have been given in the order of the random selection.

2    Each potential juror has been given a large laminated card on

3    which    the    number       is     placed     showing       the    order     in     which      the

4    potential juror was randomly selected.

5                   2.     I will ask the potential jurors questions as a

6    group.     If a potential juror has a response, he or she shall

7    raise the laminated card.                 Generally, the potential juror with

8    the lowest number will respond first.                          If no laminated card is

9    raised, I will simply state “no response” and then ask the next

10   question.       If you know it is your turn to respond to a question,

11   you may respond before I call your                       seat       number         by    stating

12   your     seat       number,       then      your response.              That could expedite

13   the process.

14                  3.     If a potential juror concludes a question unduly

15   pries into a private matter, the potential juror may request to

16   respond    out       of    the    earshot      of    other     potential       jurors.          I’m

17   authorized to try to protect legitimate privacy interests, but

18   may ask questions in the area that you indicate a desire to

19   discuss in private to determine whether it, or any aspect of the

20   matter, should be responded to as indicated.                              This approach is
21   taken because the trial should be open unless I have a legitimate

22   reason to close an aspect of it.

23                  4.     The presentation of evidence and closing argument

24   portions       of     the     trial      are        expected       to    be    completed         in

25   approximately         6     court    days,      after     which         the   case      will     be

26   submitted to the jury for jury deliberation.                                  Trial will be
27   conducted on Tuesdays, Wednesdays, and Thursdays, from 9:00 a.m.

28   to     about        4:30    p.m.         However,        once       you       commence         jury
                                                     2
      Case 2:15-cr-00190-KJM Document 296 Filed 11/22/17 Page 3 of 7


1    deliberations,     you   will      be   expected    to    deliberate    every     day

2    except weekends until you complete your deliberations.                      Does the

3    schedule pose a special problem for any prospective jury?

4               5.     I will now state the names of the parties and

5    certain persons seated at the tables in the well of the courtroom

6    for the purpose of ascertaining if you know and/or have had

7    contact with a person named or referenced.                  Seated at the table

8    closest to the jury box are Assistant United States Attorneys

9    Audrey Hemesath and Todd Pickles, the lawyers representing the

10   United States.     Also seated at that table is Virginia Waldrop, a

11   paralegal specialist in the United States Attorney’s Office, and

12   Special Agents Jonathan Fairbanks and Matthew Weissenborn from

13   the Federal Bureau of Investigation.               The Defendants in this case

14   are   George    Larsen   and    Larry     Todt.      Attorney      Dustin     Johnson

15   represents George Larsen.               Larry Todt has elected not to be

16   represented by an attorney.             Jason Lawley is seated in the well

17   of the courtroom.

18                     a.     Do you know and or have you had any contact

19                            with a person just named?

20              6.     I will now ask one of the prosecutors to name the
21   anticipated witnesses the United States may call so it can be

22   determined whether any potential juror knows or has had contact

23   with a person named.

24                     a.     Do you know and or have you had any contact

25                            with a person just named?

26              7.     This   is    a   criminal   case       brought   by   the    United
27   States against defendants.              Defendants George Larsen and Larry

28   Todt are charged with one count of conspiracy to commit bank
                                               3
      Case 2:15-cr-00190-KJM Document 296 Filed 11/22/17 Page 4 of 7


1    fraud and falsely making financial institution documents.                   George

2    Larsen is also charged with four counts of bank fraud.                         Larry

3    Todt    is   also   charged      with   one   count   of    bank   fraud.       The

4    indictment alleges that, beginning no later than April 22, 2010

5    and continuing through at least November 18, 2011, in the Eastern

6    District of California and elsewhere, the defendants conspired

7    among themselves and with others to file fraudulent documents,

8    including those purporting to be from financial institutions, at

9    county recorders’ offices for the purpose of depriving financial

10   institutions of their secured interest in real properties and for

11   the profit of the defendants.                Each defendant has pleaded not

12   guilty to all of the charges.

13                8.     Have you read or seen anything about the charges

14   in this case?

15                       a.    If so, is there anything about what you may

16                             have read or seen which would affect your

17                             ability to consider only the evidence that

18                             you    hear   in    court   and    to    be   fair    and

19                             impartial to both sides?

20                9.     In light of the allegations, does any potential
21   juror prefer not being a juror on this case?

22                10.    Is   there    anything    about   the   allegations        which

23   causes you to feel that you might not be a fair juror in this

24   case?

25                11.    Is there any reason why you would not be able to

26   be a juror and/or to give your full attention to this case?
27                12.    Have you, any member of your family, or any close

28   friend been arrested for a crime or been the defendant in a
                                              4
      Case 2:15-cr-00190-KJM Document 296 Filed 11/22/17 Page 5 of 7


1    criminal case?

2              13.     Do you have any religious or moral objection to

3    sitting in judgment of another’s conduct in a court of law?

4              14.     Certain allegations in this case allege that a

5    church   entity    and/or     a   spiritual         organization         was    used       in

6    connection    with     charged     fraudulent        activities.              Will     such

7    allegations     interfere     with   your      ability         to   be    a    fair    and

8    impartial juror?

9              15.     Have     you    had        dealings      with      any       financial

10   institution that would interfere with your ability to be a fair

11   and impartial juror on this case, in light of allegations that

12   defendants conspired to defraud such institutions?

13             16.     Have you ever served as a juror in the past, in

14   any capacity?

15                     a.      State   whether      it    was   a    civil     or    criminal

16                             case, and whether the jury reached a verdict,

17                             but do not state the actual verdict reached.

18             17.     Would    you    tend   to     believe     the     testimony         of   a

19   witness just because of that witness’s present or former status

20   as a law enforcement officer?
21             18.     Would you tend to disbelieve the testimony of a

22   witness just because of the witness’s present or former status as

23   a law enforcement officer?

24             19.     You are required to apply the law I will give you

25   even if you believe a different law should apply.                        If you cannot

26   agree to what I just said, please raise your hand.
27             20.     Do you have any difficulty with the rule of law

28   that a person charged with a crime is presumed innocent and need
                                              5
      Case 2:15-cr-00190-KJM Document 296 Filed 11/22/17 Page 6 of 7


1    not present any evidence, and the government at all times bears

2    the burden of proving guilt beyond a reasonable doubt?

3                21.   Do you have any problem with the rule of law that

4    a defendant need not testify on his own behalf and that if a

5    defendant    chooses      not   to    testify,     that    factor   may   not   be

6    considered by you in your deliberations?

7                22.   Is there anything we have not discussed that you

8    believe could have a bearing on your ability to be a fair and

9    impartial   juror    in    this      case,   or   that    you   suspect   a   trial

10   participant would desire to know?

11               23.   The Courtroom Deputy Clerk will give the juror in

12   seat number one a sheet on which there is information we seek.

13   Please pass the sheet to a potential juror near you after you

14   respond.

15               Dated:   November 22, 2017

16

17

18

19

20
21

22

23

24

25

26
27

28
                                              6
     Case 2:15-cr-00190-KJM Document 296 Filed 11/22/17 Page 7 of 7


1

2

3             Please State:

4                   a.    your juror seat number;

5                   b.    your name and educational background;

6                   c.    the   educational         background   of   any   person

7                         residing with you;

8                   d.    your present and former occupations; and

9                   e.    the   present       and   former   occupations    of   any

10                        person residing with you.

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          7
